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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


 UNITED STATES OF AMERICA

        v.                                                   Case No. 1:16-CR-68

 HALIL FALYALI,

        and

 HUSNU FALYALI,

        Defendants.

                          MOTION TO DISMISS INDICTMENT AND
                             VACATE ARREST WARRANTS

       The United States of America, by and through its attorneys, Jessica D. Aber, United

States Attorney for the Eastern District of Virginia, and Michael P. Ben’Ary, Assistant

United States Attorney, pursuant to Rule 48 of the Federal Rules of Criminal Procedure,

hereby moves this Honorable Court to dismiss, without prejudice, the Indictment and vacate

the pending Arrest Warrants in the above-captioned case, only as to defendants HALIL

FALYALI and HUSNU FALYALI.

                                              Respectfully submitted,

                                              Jessica D. Aber
                                              United States Attorney
                                      By:              /s/                          S
                                             Michael P. Ben’Ary
                                             Assistant United States Attorney
                                             United States Attorney’s Office
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                                  CERTIFICATE OF SERVICE
       I hereby certify that on March 15, 2022, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which automatically generated a Notice of Electronic

Filing (NEF) to any counsel of record.

                                                       /s/                           S
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